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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

         - against -                                             19 CR 375 (SJ)

CHRISTIAN TRUNZ

                                 Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                        GOVERNMENT’S UNOPPOSED MOTION
                 TO CONTINUE THE DEFENDANT’S SENTENCING HEARING

          The United States of America respectfully submits this Unopposed Motion to Continue the

Defendant’s Sentencing Hearing (the “Motion”) and states as follows:

          1.        On August 20, 2019, Defendant pled guilty, pursuant to a plea agreement, to an

     information charging one count of conspiracy to engage in spoofing, in violation of 18 U.S.C.

     § 371, and one count of spoofing, in violation of 7 U.S.C. §§ 6c(a)(5)(C) and 13(a)(2).

          2.        The Defendant is not in custody and was released on his own personal recognizance

     with conditions pending sentencing.

          3.        Sentencing in this matter is currently scheduled for February 19, 2020.

          4.        The Defendant is actively cooperating with the Government in ongoing

     investigations.

          5.        The Government respectfully requests that the sentencing hearing be continued six

     months, to August 19, 2020, in order to allow the Government additional time to conduct its

     ongoing investigations.
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       6.      The undersigned has conferred with Defendant’s attorney and he has no objection

   to the requested relief.

       For the foregoing reasons, the Government’s Unopposed Motion to Continue the

Defendant’s Sentencing Hearing should be granted.


Dated: January 22, 2020
                                                    Respectfully submitted,

                                                    ROBERT A. ZINK
                                                    Chief, Fraud Section
                                                    Criminal Division
                                                    U.S. Department of Justice


                                           By:       /s/Matthew F. Sullivan
                                                    Matthew F. Sullivan
                                                    Trial Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 22, 2020, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, and that the foregoing document is being served this

day on all counsel of record via transmission of Notice(s) of Electronic Filing.


                                              By:     /s/Matthew F. Sullivan
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